     Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 1 of 12




                                  EXHIBIT A




{M1337275.1)
              Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 2 of 12
                                                                                                                                     INDEX NO.            033167/2017
               ROCKIAND COUNTY CLERK 03/26/2018 07:39 AMI
NYSCEF    DOC. NO. 5l'                                                                                                 RECEIVED NYSCEF:                    03/23/2018



                                                                    CHAMBERS CO^Y
                                                                                                                       WORKING COPY
               COMMERCIAL         FORECLOSURE                   -     NOT          A        "HOME    LOAN"         PURSUANT          TO     RPAPL
               §1304 AND         NOT       SUBJECT                  TO     A       MANDATORY              SETTLEMENT                CONFERENCE
               PURSUANT TO CPLR §                3408
                                                                                             At     an    IAS       Part        ~         of        the
                                                                                             Supreme          Court        of       the     State
                                                                                             of New York, held in and                               for
                                                                                             the  County of  Rockland,                               at
                                                                                             the    Courthouse             located             at     1
                                                                                             S.    Main Street,            New City,            New
                                                                                            York,        on   the                         day       of
                                                                                                  ^<c\^               , 20J^.
              PRESENT:                                                                                                                          ECF
              HON .          HON. ROLF II.THORSEN, AJ.S.&
                                                                                            J.S.C.


              FLUSHING BANK f/k/a
              FLUSHING SAVINGS BANK,                     FSB,

                                                                                                              Index No.             033167/2017
                                                                Plaintiff,

                              -against-
                                                                                                              ORDER APPOINTING                  RECEIVER


              LEEBER REALTY LLC,               NEW YORK STATE
              DEPARTMENT OF TAXATION AND                              FINANCE,
                                                                                                              Foreclosure             of;
              BERNARD COHEN,            Individually,
                                                                                                              21    Route       59
              BERNARD COHEN,           as Trustee of
                                                                                                              Nyack, NY              10960
              The Bernard Cohen Revocable Trust,
              a Florida Revocable Trust,                                                                                    65.36
                                                                                                              Sect:
              STATE CONTRACTING CORP. OF NY,
                                                                                                              Block:        1
              ZARIN & STEINMETZ, "JOHN DOE                                                                    Lot:          48
              NO. I" to "JOHN DOE NO. XXX,"
              inclusive,        the last thirty names
              being fictitious and unknown to
              plaintiff, the persons or parties
              intended being the tenants, occupants,
              persons or corporations, if any,
              having or claiming an . interest in
              or lien upon the premises described
              in the complaint,

                                                            Defendants.




                                                                                        File Number: SU-2017-033167 Seq: 1 Doc Seq; 51
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                                                                               1       of   11
   ctud CoiHny Couits. Rocklnnd County, DO HEREBY CERTIFY
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   ilweoffiled or rt'corded in my office on ^
   and the same is a correct transcript Oiereoff lwTv'lT!\iKS VVHEREOf
   I hotfci        cof mu       anH        rr\M nHir-iot CAal       1.1 /\ ,-^^1 .
           Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 3 of 12

           ROCKLAND COUNTY CLERK 03/26/2018 07 : 3^^                                                        index no. 033167/2017
JysCEF Ddc.' NO. 51                                        -                                         RECEIVED NYSCEF: 03/23/2018




                   On reading and filing the annexed Affirmation of Antonia M.

           Donohue,          Esq.,    affirmed        on   November          2,    2017,     the      Affidavit       of

           Walter        Krzyminski,           Vice        President          of     Flushing           Bank     f/k/a

           Flushing          Savings      Bank,    FSB      ("FB"       or   "Plaintiff"),             sworn    to    on

          November           1,   2017,    and     upon        the      exhibits     annexed          thereto,       and

          upon all other papers and proceedings already had herein,                                            and it

          appearing to the satisfaction of this Court that this action is

          brought to foreclose a mortgage on a parcel of^real estate in
          the County of Rockland from which it appears that the                                             Plaintiff

          is   the     owner       and holder         of   a       certain mortgage             on    the   premises

         hereinafter described,                   and the defendant Leeber Realty LLC is in

         default of the mortgage and that the within proceeding has been

         instituted to foreclose on said mortgage and that                                           said mortgage

         contains        a    clause authorizing               the appointment             of    a    receiver for

         all rents and profits of said premises,                                   without      notice,        in the

         event of foreclosure                 thereof.


                 NOW,        on motion of Jaspan Schlesinger LLP,                          attorneys for the

         Plaintiff,          i t is

    /            ORDERED, that .                            A                               '          Q.                     ^
         ("Receiver") of Sty) OlS ' k I a l O ( e O ' ! >
    )   is hereby appointed with the usual powers and direction,                                                     as
iC//
        receiver        for       the benefit of the                 Plaintiff of all            the rents       and



                                          ^                                  n • 0333
        AMo/Di25id44vi/M073505/coi42i4o                              Fils Number SU-2017-033167 Seq: 2 Doc Seq: 51
                                                               2   of   11
                Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 4 of 12

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NYSCEF DOC. NO. 51                                                 •         -       .                  RECEIVED NYSCEF: 03/23/2018




                profits now due and to become due during the pendency of this

                action    and    issuing       out   of    the          mortgaged             premises       all    as    set

                forth in the Complaint and known as 21 Route 59, Nyack, NY 10960

                ("Premises")       as       more   fully       described                 in    Schedule       A    annexed
                                                                                    v-A                  i                s'-e/'vrt «
                hereto; and it . is further                                                              irU
                                                       +€-v\                      0P ^                              Ai^ iit l\
                     ORDERED,       that the Receiver is authorized to forthwith take

                charge,   and enter into possession of the Premises;                                          and it is

                further


                    •ORDERED, that the Receiver, prior to engaging in any action

            that may result in expenses being incurred, be and he/she hereby

            is     directed       to    contact      the       Plaintiff's                attorney,          Antonia       M.

            Donohue, Esq., of Jaspan Schlesinger LLP, 300 Garden City Plaza,

            Garden City,           New York 11530,                 to ascertain the status of the
            foreclosure          action        and   whether                 he/she           should    proceed          with

           his/her duties;             and i t is further

                    ORDERED,        that      before      entering                upon        his/her    duties,         the

           Receiver shall be sworn faithfully and fairly to discharge the

           trust committed to him/her, and the Receiver ^shall execute to
           THE PEOPLE OF THE STATE OF NEW YORK and file with the Clerk of
       f




      /' the        Court       a bond with            sufficient                  sureties        in    the       sum     of
           •5         OOOi 00,         conditioned         for              the    faithful        performance            of

F    ^ his/her duties as such Receiver; and it is further




           AM0/D1251044V1/MO735OS/COM214O                               File NuiTiber: SU-2017-033167 Seq: 3 Doc Seq: 51
                                                               3       of   11
           Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 5 of 12

      ^4^ RQCKLAND COUNTY CLERK 03/26/2018 07:39 AMI                                                                                  03316V/2017
NYSCEF DOC. NO. 51          '                                                                                   RECEIVED NYSCEF:. 03/23/2018



                                                                                                                             ^fZoC       v-nI'
                   ORDERED,            that       the    Receiver             file       an     oath       with       the    County
      I                                il. "                       Ktu />fSCtrF                                        C-fij^eC-f- (h xl^s
      I Clerk; and it is further
                   ORDERED,           that        the   Receiver              be    and       is     hereby       directed       to

           demand,      collect             and     receive         from           the    occupants,             tenants,       and

           licensees            in     possession            of         the    Premises,              or        others       liable

           therefor,        inclusive              of   the        mortgagor,             all       rents        and     licensee

           fees    thereof           to     become      fixed       and due,              now       due    and    unpaid,       and

          hereafter to become due and that                                    the    Receiver be and                   is    hereby

          authorized            to        institute          and        carry       on        all     legal       proceedings

          necessary for               the protection of the                         Premises and/or to recover

          possession            of    the      whole,        or any part                 thereof,          and/or apply          to

          the•Court        to        fix    reasonable         rental          value          and    licensee          fee   value


          of   the    Premises             and/or       to    compel          the        tenants          and    occupants      of

          the Premises           to attorn to the Receiver;                              and i t     i s further


                  ORDERED,            that      the     Receiver              may        institute          and        prosecute

          suits      for        the        collection         of        rent,        licensee             fees        and    other

          charges now due or hereafter to become due or fixed,                                                    and summary

          proceedings for the removal of any tenants or licensees or other

          persons therefrom; and it is further

                  ORDERED,           that      pursuant        to        the       provisions              of    the     General

          Obligations Law section 7-105,                            any person or entity holding any

       deposits        or       advances           of   rental          as     security            under        any    lease or

       license        agreement             affecting         space           in     the       Premises          affected       by

       this action shall                    turn    same over to the                     Receiver within five                  (5)



       AMD/oi25io44vi/M073505/coi^2i4o                                    File Number SU-2017-033167 Seq; 4 Doc Seq: 51
                                                                    4    of   11
          Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 6 of 12

           RQCKLAND COUNTY CLERK 03/26/2018 07:39 AMI                                                                  033167/2017
NYs'cEF DOC. NO. 51                                                                              RECEIVED NYSCEF: 03/23/2018




          days after the Receiver shall have qualified; and thereupon the

          said      Receiver         shall         hold      such          security     subject          to     such

          disposition thereof                as shall be provided in an order of this

          Court to be made and entered in this action; and i t is further

                  ORDERED,         that    any person or entity in possession of same

         shall       turn        over      to    the      Receiver          all     rent        lists,     orders,

         unexpired          and          expired       leases,          agreements,             correspondence,

         notices,        and registration statements relating to rental spaces

         or facilities in the Premises; and it is further

                 ORDERED,         that     the     Defendants and their                 agents,          officers,

         employees         and     contractors are hereby directed                              to deliver       and

         attorn       to     the     Receiver          all       rent      lists,     shareholder             lists,

         unexpired         and     expired       leases,         proprietary          leases,       agreements,

         contracts,              recognition              agreements,               corporate            by-laws,

         correspondence,                 notices        registration              statements,            tenants,

         securities,         shareholders,            escrows,        and lists of current rent or

        other monies, arrears, relating to space in the Premises; and it

        is   further


                 ORDERED,        that      notwithstanding                 anything        to    the     contrary

        contained in             this order,           the Receiver shall               not,      without the

        further,         prior      order        of    this       Court,       upon     prior       notice       to

        Plaintiff,          make         improvements            or   substantial           repairs       to    the

        Premises at a cost in excess of $1,000.00; and it is further




        AMD/oia5io44vi/M0735os/coi42Mo                            File Number SU-2017-033167 Seq: 5 Doc Seq: 51
                                                             5   of   11
            Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 7 of 12

         3.:. ROCKLAND COUNTY CLERK 03/26/2018 07:39 AMI                                                 index no. 033167/2017
NYS^Ef bOC. NO. 51               •                                                                 RECEIVED NYSCEF: 03/2 3/2018




                      ORDERED,        that    the        Receiver      forthwith       deposit        all     monies

            received by him/her at the time he/she receives same in his/her

       own name as Receiver in                 WtjixWVvOW fuWj
^    I and no withdrawals shall be made therefrom, except as directed
fF   I      by the Court or on a draft or check signed by the Receiver;                                            and

            it   is    further


                      ORDERED,         that     the         Receiver         furnish         the      Plaintiff's

            attorneys          with         monthly        statements          of      the         receipts        and

           expenditures of this receivership,                           together with a photocopy of

           the monthly statements received from said depository;                                       and it is

           further


                      ORDERED,       that     the    Receiver          is    prohibited       from      incurring

           obligations          in     excess       of    the monies         in     his/her    hands        without

           further order of the Court or written consent of Plaintiff;                                             a'nd

           it    is    further


                   ORDERED,          that    the Receiver is             not authorized to appoint                   a

          managing agent to rent and collect the rents of the Premises or

          to pay for the reasonable use of such agent's services out of

          the     rents      received         without       the   Court's         permission;         and     it    is

          further


                   ORDERED,          that,    in compliance with Section                     5228(a)        of the

          Civil        Practice        Law     and       Rules,        the    Receiver       shall:         procure

          liability insurance; from time to time, rent or lease all or any

          part of the Premises for terras of one                              (1)    year or such longer


          AMD/D1251044V1/M073505/C0142140                           File Number SU-2017-033167 Seq: 6 Doc Seq: 51
                                                              6   of   11
          Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 8 of 12

       ^iTROCKLAND COUNTY CLERK 03/26/2018 07:39                                                             index no. 033167/2017
NYSCEF DOC. N.O. '51                '                                                                RECEIVED NYSCEF: 03/23/2018




           terms      as may be            required         by the City and                    State of      New York

          pursuant         to    applicable             rent      rules;          keep   the      Premises     insured

          against loss or damage by fire and other hazards for the benefit

          of    the     Plaintiff          in    the    event         Plaintiff is          not    the beneficiary

          of    the     owner's           insurance         or        Plaintiff      does      not    have    its   own

          insurance therefor;                    keep the Premises in repair;                        pay the taxes,

          assessments,            water           rates        and          sewer    rents,        vault      charges,

          salaries of employees,                       supplies and other charges;                        and procure

          such fire,         plate glass,              liability and other insurance as may be

          reasonably necessary thereon; and it is further

                  ORDERED,        that the tenants,                     subtenants or other persons                  in

         possession of the Premises attorn to the Receiver,                                           and pay over

         to the Receiver                all      rents,      licensee             fees   and    other charges        of

         the    Premises        or other monies                  of the Premises now due and unpaid

         or that may hereafter become due;                                    and that      the Defendants and

         their agents, officers, employees and attorneys are enjoined and

         restrained          from:         (i)    collecting                the   rents,     licensee        fees   and

         other      charges       of      the     Premises;            (ii)       Interfering        in   any manner

         with     the     Premises          or        its   possession,             or     with    the     Receiver's

         management thereof;                    and    (iii)      transferring,             removing or in any

         way disturbing any of the occupants or employees; and that all

        of the tenants of the Premises and other persons liable for the

        rents be and they hereby are enjoined and restrained from paying




        AMD/01251044V1/M073505/C0142140                                 Fils Number SU-2017-033167 Seq: 7 Doc Seq: 51
                                                                  7    of   11
        Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 9 of 12
                                                                                       TNPfy Nn
           rockland     county
NT^EF DOC. NO. 51                                                               RECEIVED NYSCEF: 03/23/2018



        any rents for the Premises to the Defendants,                           their agents,
        servants or attorneys; and it is further

               ORDERED,    that all persons now,               or hereafter coming into
       possession of the Premises or any part thereof, and not holding
       such possession under valid and existing leases,                         do forthwith
       surrender such possession to the Receiver at the option of the
       Receiver,    subject to emergency rent laws,                    if any;     and it is
       further


             ORDERED,     that the Receiver, after paying the expenses of
       the management and care of the Premises, retain the balance of
      the money which may come into his/her hands until the sale of
      the Premises under the judgment to be entered in this action
      and/or until further order of the Court; and it is further

             ORDERED,     that the owner of             the Premises          and any other
      person or entity in possession thereof turn over to the Receiver

      all rents collected from the Premises from and after the date of
     this Order; and it is further

            ORDERED,      that    the    Receiver            comply    with     all        lawful
     requirements of any municipal department or other authority of
     the municipality in which the Premises is situated; and it is
     further


            ORDERED, that the Receiver or- any party hereto may at any
     time, on proper notice to all parties who may have appeared in
    this     action,      apply   to    this   Court           for    an   order      or     for


                                                             Number: SU.2017-033167 Seq: 8 Doc Seq: 51
                                               8   Of   11
         Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 10 of 12

          RUCRLAMD ^OUH'i'V CLERk 6J^y^6/2018 "Q7:39                                         index no. 033167/2017
NYSCEF DOC.   NO.    51                                                                RECEIVED NYSCEF: 03/23/20L8




          instructions or powers necessary to enable such Receiver to
          properly and faithfully perform his/her duties;                                and it is
          further


                    ORDERED, that the Receiver appointed herein shall continue
          in his/her duties as such, until this receivership is terminated
                                                                                                                     I

         by court order; and it is further                                                                           ]

                    ORDERED,       that the Receiver appointed herein shall file a
         monthly accounting from the date of this Order, .and each and
         every month thereafter during the pendency and existence of this
         receivership, with copies of said accounting to be forwarded to
         Plaintiff's attorneys; and it is further

                    ORDERED,        that    the     Receiver,          upon     receiving     written                ,

         notification             from   Plaintiff's       attorneys     that    the   borrower    has               '

         entered into a forbearance agreement with Plaintiff,                            shall cease

         to     perform his/her             duties     until         further    notification      from               I
         Plaintiff's attorneys; and it is further                                                                    ^
                    ORDERED,      that the appointee named herein shall comply with                                  •

         Section 35a of the Judiciary Law,                      CPLR Sections 6401-6404, RPAPL

         Section          1325,     Servicemembers         Civil      Relief    Act    [50   U.S.C.S.
                                                                                                                     !
         Appendix. §§501, et seq,], and Part 36 of the Rules of the Chief

         Judge.

                NOTWITHSTANDING            ANY    OTHER    PROVISION      OF    THIS   ORDER TO   THE

        CONTRARY,          THE RECEIVER          SHALL NOT APPOINT AN ATTORNEY,                AGENT,




        amd/oi25io44vi/mo73505/cow2wo                        File Number SU-2017-033167 Seq: 9 Doc Seq: 51
                                                       9   of   11
          Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 11 of 12
                                                                                     INDEX NO.   033167/2017
         44
            ROCKLAND COUNTY CLERK 0T726/2018 07:39
NYSCEF   DOC.   NO.'51                                                      RECEIVED NYSCEF:      03/23/2018




           APPRAISER, AUCTIONEER OR ACCOUNTANT WITHOUT PRIOR ORDER OF THIS
           COURT.
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                                                        ENTER:




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                                                             HCM.ROlf




          AIV1D/D1251D44V1/M07350S/C0142140        File Number: SU-2017-033167 Seq: 10 Doc Seq: 51
                                              10   of   11
         Case 7:17-cv-02934-KMK-LMS Document 85-1 Filed 06/27/18 Page 12 of 12
                                                                                                           INDEX NO.   033167/2017
          ROCKLAND COUNTY CLERK 03/26/2018 07:39
NYSCEF DOC.   NO. .51                                                                                RECEIVED NYSCEF: 03/23/6018




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                                                                      File Number: SU-2017-033167 Seq: 11 Doc Seq: 51
                                                                11    of   11
